IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA

CHARLOTTE DlylsloN
MARY E. MoWRY, §
Plaintiff, §
v. )

) C/A NO. 3119-cv-00123-FDW-DCK

oRACLE AMERICA, INC., )
a corporation, §
Defendant. )

 

DEFENDANT’S MOTION TO COMPEL ARBITRATION
AND STAY PROCEEDINGS

COl\/IES NOW Defendant Oracle America, Inc. (“Defendant”), by and through
undersigned counsel, and hereby moves this Court pursuant to the Federal Arbitration Act, 9
U.S.C. § l, et seq., to: (l) compel arbitration of Plaintiff Mary l\/[owry’s claims under the Family
Medical Leaye Act of 1993, 29 U.S.C. § 2601 et seq. (“FMLA”), and the Age Discrimination in
Employment Act, as amended, 29 U.S.C. § 621 et seq. (“ADEA”); and (2) stay this proceeding
pending arbitration ln support of its motion, Defendant submits a memorandum of law and the
Declaration of Dawn Capriotti, to Which Plaintiff’s offer letter, the parties’ Employment v
Agreement & Mutual Agreement to Arbitrate (the “Agreement”), and proof of Plaintift’s
acknowledgment and acceptance of the Agreement are attached as EXhibits.

WHEREFORE, Defendant respectfully requests that its motion be granted, that Plaintift’ s
Fl\/ILA and ADEA claims be ordered to arbitration in accordance With parties’ mutually binding

arbitration agreement, and that this proceeding be stayed pending arbitration

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Dated this the 26th day of March, 2019.

Respectfully submitted,

/s/H. Bernard Tisdale III
H. Bernard Tisdale III, NC #23980
Carl l\/l. Short lll, NC 46396
Attorneysfor Defendant
OGLETREE, DEAKINS, NASH,

SMOAK & STEWART, P.C.
201 South College Street, Suite 2300
Charlotte, NC 28244
Telephone: 704-342-2588
Facsimile: 704-342-4379
Email: bernard.tiSdale@ogletree.com;
Carl.short@ogletree.com

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CERTIFICATE ()F SERVICE

I, H. Bernard Tisdale lIl, hereby certify that l have this day electronically filed the
foregoing DEFENDANT’S MOTION TO COMPEL ARBITRATION With the Clerk of Court
using the CM/ECF system, Which Will send notification of the filing to the following person(s):

Kathleen M. Lucas

Alisha Shamim Meyer

The Lucas Law Firm

354 Pine Street, 4th Floor

San Francisco, CA 94104

Email: klueas('c:l`)tlucaslaw.net
asmeyer@lucaslaw.net

Joshua Reed Van Kampen

Nicole Katherine Haynes

Van Kampen LaW

225 East Worthington Street

Suite 200

Charlotte, NC 28203

704-247-3245

Fax: 704-749-2638

Email: josh@vankampenlaw.com
nicole@VankampenlaW.com

Attomeysfor Plclintz']jf
Dated this the 26th day of l\/larch, 2019.

/s/H. Bernard Tisdale III
H. Bernard Tisdale III, NC #23 980
Attorneyfor Defendant
OGLETREE, DEAKINS, NASH,

SMOAK & STEWART, P.C.
201 South College Street, Suite 2300
Charlotte, NC 28244
Telephone: 704-342-2588
Facsimile: 704-342-4379
Email: bernard.tisdale@ogletree.com

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